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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


HAMZA GHAITH, Derivatively on Behalf of
Nominal Defendant ATI PHYSICAL
THERAPY, INC. f/k/a FORTRESS VALUE
ACQUISITION CORP. II,

                         Plaintiff,                       Case No. 1:21-cv-06415

              v.                                          Judge Sara L. Ellis

LABEED DIAB, JOSEPH JORDAN, JOHN
L. LARSEN, JOHN MALDONADO,
CARMINE PETRONE, JOANNE M. BURNS,
CHRISTOPHER KRUBERT, JAMES E.
PARISI, ANDREW A. MCKNIGHT, JOSHUA
A. PACK, AARON F. HOOD, CARMEN A.
POLICY, MARC FURSTEIN, LESLEE
COWEN, RAFEKET RUSSAK-AMINOACH,
and SUNIL GULATI,

                         Defendants,

              And

ATI PHYSICAL THERAPY, INC. f/k/a
FORTRESS VALUE ACQUISITION CORP. II,

                         Nominal Defendant.


                                  JOINT STATUS REPORT

       Plaintiff Hamza Ghaith (“Plaintiff”), Nominal Defendant ATI Physical Therapy, Inc.

(“ATI” or the “Company”) f/k/a Fortress Value Acquisition Corp. II, and Defendants Labeed Diab,

Joseph Jordan, John L. Larsen, John Maldonado, Carmine Petrone, Joanne M. Burns,Christopher

Krubert, James E. Parisi, Andrew A. McKnight, Joshua A. Pack, Aaron F. Hood, Carmen A.

Policy, Marc Furstein, Leslee Cowen, Rakefet Russak-Aminoach, and Sunil Gulati (collectively,
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“Defendants,” and with Plaintiff and ATI, the “Parties”) respectfully submit this Joint Status Report

pursuant to the Court’s January 31, 2022 docket entry. Dkt. No. 22.

I.     Motion for Reassignment

       On February 1, 2022, the Parties jointly moved pursuant to Local Rule 40.4 for an order

(a) designating this action as related to Burbige, et al. v. ATI Physical Therapy, Inc. f/k/a Fortress

Value Acquisition Corp. II, et al., Case No. 1:21-cv-04349 (the “Securities Class Action”), and (b)

reassigning this action to Judge Edmond E. Chang, before whom the Securities Class Action is

pending (the “Motion for Reassignment”). See Securities Class Action Docket No. 50.

       On February 3, 2022, Lead Plaintiffs in the Securities Class Action opposed the Motion for

Reassignment. See Securities Class Action Docket No. 51.

       On February 9, 2022, the Parties filed a joint reply in further support of the Motion for

Reassignment. See Securities Class Action Docket No. 59.

       The Motion for Reassignment remains pending before Judge Chang. See Securities Class

Action Docket No. 64.

II.    Motion To Stay and/or Dismiss

       The Parties are continuing to discuss a potential consensual stay of this action and the

parameters of any such stay. Once the Motion for Reassignment has been decided, the Parties will

promptly submit either: (a) a joint motion to stay this action; or (b) a briefing schedule for any

motion(s) to dismiss the complaint.




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Dated: March 22, 2022                   Respectfully submitted,

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